Case 6:21-cv-03276-RRS-PJH Document 16 Filed 03/15/22 Page 1 of 2 PageID #: 551




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION


  KELLYBEASLEY CASE NO. 6:21-CV-03276

  VERSUS JUDGE ROBERT R.
                                               SUMMERHAYS

  SCHOOL DISTRICT BD OF MAGISTRATE JUDGE PATRICK
  EDUCATION IBERIA PARISH ET AL J. HANNA


                                     JUDGMENT

        Before this Court are motions to dismiss filed by defendants (Rec. Docs. 4,


  11). These motions were referred to United States Magistrate Judge Patrick J. Hanna


  for report and recommendation. After an independent review of the record, noting


  the absence of objections filed, this Court concludes that the Magistrate Judge's


  report and recommendation is correct and adopts the findings and conclusions


  therein as its own. Accordingly,


        IT IS ORDERED, AD JUDGED, AND DECREED that, consistent with the

  report and recommendation, the motion to dismiss (Rec. Doc. 11) filed by


  defendants is GRANTED and^ accordingly, all claims by Plaintiff on behalf of her

  minor children are DISMISSED without prejudice. All claims by Plaintiff on her

  own behalf under 28 U.S.C. § 1343, Article I, Section 20 of the Louisiana


  Constitution^ Article 101 of the Louisiana Children's code, theNuremburg Code, 18


  U.S.C. §§ 241-42, and Louisiana's law of false imprisonment are DENIED and
Case 6:21-cv-03276-RRS-PJH Document 16 Filed 03/15/22 Page 2 of 2 PageID #: 552




  DISMISSED with prejudice. Plaintiffs individual claims under Article I, Section 3

  of the Louisiana Constitution are DENTED and DISMISSED without prejudice.

  Given the foregoing, defendants' prior motion to dismiss (Rec. Doc. 4) is DENIED

  as MOOT.


        Signed at Lafayette, Louisiana, this   IS^:y of March, 2022.
                                        ROBERT R. SUMMERHA^
                                        UNITED STATES DISTRICT JUDGE
